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Case 4:04-cv-02688-JEJ Document 320 Filed 11/16/05 Page 1of1 .

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

TAMMY J. KITZMILLER; BRYAN REHM,
CHRISTY REHM; DEBORAH F.
FENIMORE; JOEL A. LIEB;
STEVEN STOUGH; BETH A EVELAND;
CYNTHIA SNEATH; JULIE SMITH,
ARALENE D. CALLAHAN ("BARRIE");
FREDERICK B. CALLAHAN,
CIVIL ACTION
Plaintiffs,

v. NO. 4:04-CV-2688
DOVER AREA SCHOOL DISTRICT;

DOVER AREA SCHOOL DISTRICT BOARD OF
DIRECTORS,

Defendants

 

ORDER
And now this _{ -¥ day of November 2005, it is hereby ORDERED that the parties

shall submit responses, if any, to amicus briefs filed in this action on or before December 7,

2005.

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John B, Jones, U.S. District Judge

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TOTAL P.43
